Case 2:17-cv-07083-RGK-MRW Document 466-1 Filed 12/06/18 Page 1 of 8 Page ID
                                #:21754




                          Exhibit A
         Case 2:17-cv-07083-RGK-MRW Document 466-1 Filed 12/06/18 Page 2 of 8 Page ID
                                         #:21755

Katherine S. Standley

From:                               Smith, Jonathan McNeal <JonathanSmith@mofo.com>
Sent:                               Sunday, November 4, 2018 1:19 PM
To:                                 Jennifer Huang; Kruze, Diana B.; Chris Marchese; Liz Ranks;
                                    Nikon7083MoFoExternal@mofo.com
Cc:                                 External – Zeiss-Nikon CDCAL 7083 Service Email; Katherine S. Standley
Subject:                            RE: Zeiss-ASML/Nikon 7083: Disclosure of asserted claims



Counsel:

Defendants are reducing the prior art references for trial to the following set:

          U.S. Patent No. 7,705,900 – Guidash
          U.S. Patent App. Pub. No. 2002/0024606 – Yuki
          European Patent No. 0707417 - Dickinson
          Japanese Patent Publication Hei 5-174149 – Kosugi
          Kin Choong Yow and Roberto Cipolla, “Feature-Based Human Face Detection” (1997)
           – Yow Paper
          Kin Choong Yow, “Automatic Human Face Detection and Localization” (1998) – Yow
           thesis
          PCT Publication No. WO 96/38808 – Fang
          U.S. Patent 6,657,665 – Guidash
          U.S. Patent No. 5,955,753 – Takahashi
          U.S. Patent No. 6,115,066 – Gowda
          U.S. Patent No. 7,113,213 – Matsunaga

Regards,


Jonathan
--
JONATHAN MCNEAL SMITH
Associate | Morrison & Foerster LLP
707 Wilshire Boulevard | Los Angeles, CA 90017-3543
P: +1 (213) 892-5224 | C: +1 (213) 245-7303
mofo.com | LinkedIn | Twitter




From: Jennifer Huang [mailto:jhuang@fr.com]
Sent: Friday, November 02, 2018 1:20 PM
To: Kruze, Diana B.; Chris Marchese; Liz Ranks; Nikon7083MoFoExternal@mofo.com
Cc: External – Zeiss-Nikon CDCAL 7083 Service Email; Katherine S. Standley
Subject: RE: Zeiss-ASML/Nikon 7083: Disclosure of asserted claims

- External Email -



                                                             1
                                                       Exhibit A
                                                        Page 1
       Case 2:17-cv-07083-RGK-MRW Document 466-1 Filed 12/06/18 Page 3 of 8 Page ID
                                       #:21756

Counsel: 
  
Plaintiffs are reducing the asserted claims for trial to the following set: 
  
’312 patent: 1, 7 
’017 patent: 1, 7 
’574 patent: 1, 3, 10, 30, 32 
’335 patent: 1‐6 
’163 patent: 1, 2, 15, 16, 19 
  
In turn, we look forward to receiving Defendants’ set of reduced invalidity grounds and/or prior art references by 
Sunday at 1 PM PT. 
  
Regards, 
Jenny 
  
  
From: Kruze, Diana B. [mailto:DKruze@mofo.com]  
Sent: Friday, November 02, 2018 1:33 PM 
To: Chris Marchese <marchese@fr.com>; Liz Ranks <ranks@fr.com>; Nikon7083MoFoExternal@mofo.com 
Cc: External – Zeiss‐Nikon CDCAL 7083 Service Email <External‐Zeiss‐NikonCDCAL7083ServiceEmail@fr.com>; Katherine 
S. Standley <standley@fr.com> 
Subject: RE: Zeiss‐ASML/Nikon 7083: Disclosure of asserted claims 
  
Hi Jenny, Chris and Proshanto: 
  
Nikon is willing to identify its narrowed list of prior art for trial two days after Plaintiffs identify their narrowed list of 
asserted claims for trial.  As we discussed, if you send us Plaintiffs’ list of asserted claims by 1 pm today, we will disclose 
the prior art list by 1 pm on Sunday.  Please note that, given trial time constraints, Nikon may need to eliminate one or 
two additional references if it does not have sufficient time by the time its invalidity experts take the stand later in the 
trial, but the list we would disclose on Sunday would be a good faith list of what we think we have time to pursue given 
the 10 hour limit. 
  
Please let us know if Plaintiffs agree to this exchange.  If so, please send the narrowed list of claims for trial at 1 pm. 
  
Thanks, 
  
Diana 
Diana Kruze
Morrison & Foerster LLP
425 Market Street | San Francisco, CA 94105
415.268.6507 (t) | dkruze@mofo.com
www.mofo.com  
  
  
From: Chris Marchese [mailto:marchese@fr.com]
Sent: Friday, November 02, 2018 10:15 AM
To: Kruze, Diana B.; Liz Ranks; Nikon7083MoFoExternal@mofo.com
Cc: External – Zeiss-Nikon CDCAL 7083 Service Email; Katherine S. Standley
Subject: RE: Zeiss-ASML/Nikon 7083: Disclosure of asserted claims 
  
                                                               2
                                                         Exhibit A
                                                          Page 2
       Case 2:17-cv-07083-RGK-MRW Document 466-1 Filed 12/06/18 Page 4 of 8 Page ID
                                       #:21757
- External Email - 

  

Diana – we can talk at 11:00.  Does that work for you?  Can you let us know your position on narrowing the prior art? 
  
Thanks, 
Chris 
  
From: Kruze, Diana B. <DKruze@mofo.com>  
Sent: Friday, November 02, 2018 9:26 AM 
To: Chris Marchese <marchese@fr.com>; Liz Ranks <ranks@fr.com>; Nikon7083MoFoExternal@mofo.com 
Cc: External – Zeiss‐Nikon CDCAL 7083 Service Email <External‐Zeiss‐NikonCDCAL7083ServiceEmail@fr.com>; Katherine 
S. Standley <standley@fr.com> 
Subject: RE: Zeiss‐ASML/Nikon 7083: Disclosure of asserted claims 
  
How about 11:30 am?  Prior to the call, please give us Plaintiffs’ basis in writing for withholding this information. 
  
From: Chris Marchese [mailto:marchese@fr.com]
Sent: Friday, November 02, 2018 9:20 AM
To: Kruze, Diana B.; Liz Ranks; Nikon7083MoFoExternal@mofo.com
Cc: External – Zeiss-Nikon CDCAL 7083 Service Email; Katherine S. Standley
Subject: RE: Zeiss-ASML/Nikon 7083: Disclosure of asserted claims 
  
- External Email - 

  

Diana, 
  
We checking on a time that works this morning or afternoon.  We will get back to you shortly.   
  
Thanks, 
Chris 
  
From: Kruze, Diana B. <DKruze@mofo.com>  
Sent: Friday, November 02, 2018 8:49 AM 
To: Liz Ranks <ranks@fr.com>; Nikon7083MoFoExternal@mofo.com; Chris Marchese <marchese@fr.com> 
Cc: External – Zeiss‐Nikon CDCAL 7083 Service Email <External‐Zeiss‐NikonCDCAL7083ServiceEmail@fr.com>; Katherine 
S. Standley <standley@fr.com> 
Subject: RE: Zeiss‐ASML/Nikon 7083: Disclosure of asserted claims 
Importance: High 
  
Chris, Jenny and Andy: 
  
Please let us know a good time to meet and confer this morning.  The Court has ruled that the parties only have 10 
hours per side, and it is impossible for Plaintiffs to proceed with 54 claims from 5 different patents in that amount of 
time.  With just two business days before the start of trial, Plaintiffs have assuredly decided which claims they will assert 
at trial.  Plaintiffs’ failure to disclose this information is highly prejudicial, and shows both bad faith and gamesmanship. 
  



                                                              3
                                                        Exhibit A
                                                         Page 3
       Case 2:17-cv-07083-RGK-MRW Document 466-1 Filed 12/06/18 Page 5 of 8 Page ID
                                       #:21758
Please provide a list of asserted claims this morning or a time to meet and confer.  We have emailed and spoken on 
the phone about this on numerous occasions, but have received no response.  If you do not respond, we will assume you 
are refusing to meet and confer, and will advise the Court. 
  
Best regards, 
  
Diana 
Diana Kruze
Morrison & Foerster LLP
425 Market Street | San Francisco, CA 94105
415.268.6507 (t) | dkruze@mofo.com
www.mofo.com  
  
  
From: Kruze, Diana B.
Sent: Thursday, November 01, 2018 5:39 PM
To: Liz Ranks; Nikon7083MoFoExternal@mofo.com; Chris Marchese (marchese@fr.com)
Cc: External – Zeiss-Nikon CDCAL 7083 Service Email; Katherine S. Standley
Subject: Zeiss-ASML/Nikon 7083: Disclosure of asserted claims 
  
Hi	Chris: 
	 
Can	we	please	meet	and	confer	tomorrow	at	11	am?		Plaintiffs	are	still	asserting	infringement	of	54	claims,	despite	only	having	
10	hours	of	trial	time.		We	are	just	a	few	days	away	from	trial	and	Plaintiffs’	lack	of	disclosure	is	highly	prejudicial.		Defendants	
have	asked	in	several	calls	and	emails	for	Plaintiffs	to	send	us	a	revised	list	of	asserted	claims,	but	Plaintiffs	have	failed	to	
provide	that	information.		Please	provide	that	list	tonight.		If	Plaintiffs	refuse	to	disclose	this,	please	let	me	know	your	team’s	
availability	for	a	meet	and	confer	tomorrow. 
	 
Best	regards, 
	 
Diana 
Diana Kruze
Morrison & Foerster LLP
425 Market Street | San Francisco, CA 94105
415.268.6507 (t) | dkruze@mofo.com
www.mofo.com  
	 
  
From: Smith, Jonathan McNeal
Sent: Monday, October 29, 2018 4:57 PM
To: Liz Ranks; Nikon7083MoFoExternal@mofo.com; mick@minaminolaw.com
Cc: External – Zeiss-Nikon CDCAL 7083 Service Email; Katherine S. Standley
Subject: RE: Zeiss-ASML/Nikon 7083: Plaintiffs' DRAFT Joint Statement of the Case 
  
Counsel: 
  
Attached is a slightly revised version of the Joint Statement of the Case. We note that trial is only a week away,
and this proposed joint statement currently purports that Plaintiffs will be asserting 54 claims at trial. Plaintiffs
have only 10 hours to accomplish that feat. Accordingly, we expect Plaintiffs to revise the joint statement
before it is lodged tomorrow to reflect the actual claims that will be asserted at trial, so that it is not over-
inclusive. Please send us a final version for our approval. 
  
Regards, 
  
  
                                                                  4
                                                            Exhibit A
                                                             Page 4
      Case 2:17-cv-07083-RGK-MRW Document 466-1 Filed 12/06/18 Page 6 of 8 Page ID
                                      #:21759
Jonathan 
-- 
JONATHAN MCNEAL SMITH 
Associate | Morrison & Foerster LLP 
707 Wilshire Boulevard | Los Angeles, CA 90017-3543 
P: +1 (213) 892-5224 | C: +1 (213) 245-7303 
mofo.com | LinkedIn | Twitter 
  
  
  
  
From: Liz Ranks [mailto:ranks@fr.com]
Sent: Monday, October 29, 2018 8:42 AM
To: Nikon7083MoFoExternal@mofo.com; mick@minaminolaw.com
Cc: External – Zeiss-Nikon CDCAL 7083 Service Email; Katherine S. Standley
Subject: RE: Zeiss-ASML/Nikon 7083: Plaintiffs' DRAFT Joint Statement of the Case 
  
- External Email - 


  

Counsel, 
  
Please let us know if you have any proposed edits to the statement of the case document
that we sent on Oct. 17 (also attached). This document is due to the court tomorrow. 
  
Regards, 
Liz 
  
Liz Ranks
FISH : Boston
617.368.2175 
  
From: Katherine S. Standley  
Sent: Wednesday, October 17, 2018 8:14 PM 
To: Nikon7083MoFoExternal@mofo.com; mick@minaminolaw.com 
Cc: External – Zeiss‐Nikon CDCAL 7083 Service Email <External‐Zeiss‐NikonCDCAL7083ServiceEmail@fr.com> 
Subject: Zeiss‐ASML/Nikon 7083: Plaintiffs' DRAFT Joint Statement of the Case 
  
Counsel, 
  
Attached please find Plaintiffs’ DRAFT Proposed Joint Statement of the Case.   
  
Katherine S. Standley :: Legal Secretary :: Fish & Richardson P.C.
12390 El Camino Real, San Diego, CA 92130
858 678 4365 direct :: 619 742 6629 mobile :: standley@fr.com
fr.com :: Bio :: LinkedIn :: Twitter 
  
                                                           5
                                                       Exhibit A
                                                        Page 5
      Case 2:17-cv-07083-RGK-MRW Document 466-1 Filed 12/06/18 Page 7 of 8 Page ID
                                      #:21760

***************************************************************************************************
*************************
This email message is for the sole use of the intended recipient(s) and may contain confidential
and privileged information. Any unauthorized use or disclosure is prohibited. If you are not the
intended recipient, please contact the sender by reply email and destroy all copies of the original
message.
***************************************************************************************************
*************************  


============================================================================

This message may be confidential and privileged. Use or disclosure by anyone other than an intended addressee
is prohibited. If you received this message in error, please delete it and advise the sender by reply email. Learn
about Morrison & Foerster LLP’s Privacy Policy. 


***************************************************************************************************
*************************
This email message is for the sole use of the intended recipient(s) and may contain confidential
and privileged information. Any unauthorized use or disclosure is prohibited. If you are not the
intended recipient, please contact the sender by reply email and destroy all copies of the original
message.
***************************************************************************************************
*************************  


============================================================================

This message may be confidential and privileged. Use or disclosure by anyone other than an intended addressee
is prohibited. If you received this message in error, please delete it and advise the sender by reply email. Learn
about Morrison & Foerster LLP’s Privacy Policy. 


***************************************************************************************************
*************************
This email message is for the sole use of the intended recipient(s) and may contain confidential
and privileged information. Any unauthorized use or disclosure is prohibited. If you are not the
intended recipient, please contact the sender by reply email and destroy all copies of the original
message.
***************************************************************************************************
*************************  


============================================================================

This message may be confidential and privileged. Use or disclosure by anyone other than an intended addressee
is prohibited. If you received this message in error, please delete it and advise the sender by reply email. Learn
about Morrison & Foerster LLP’s Privacy Policy. 


***************************************************************************************************
*************************
This email message is for the sole use of the intended recipient(s) and may contain confidential
and privileged information. Any unauthorized use or disclosure is prohibited. If you are not the
intended recipient, please contact the sender by reply email and destroy all copies of the original
message.
***************************************************************************************************
*************************


                                                        6
                                                   Exhibit A
                                                    Page 6
      Case 2:17-cv-07083-RGK-MRW Document 466-1 Filed 12/06/18 Page 8 of 8 Page ID
                                      #:21761
============================================================================

This message may be confidential and privileged. Use or disclosure by anyone other than an intended addressee
is prohibited. If you received this message in error, please delete it and advise the sender by reply email. Learn
about Morrison & Foerster LLP’s Privacy Policy.




                                                        7
                                                   Exhibit A
                                                    Page 7
